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                           No. 22-10027


 IN THE UNITED STATES COURT OF APPEALS
          FOR THE NINTH CIRCUIT
         ________________________________

             UNITED STATES OF AMERICA,
                                   Plaintiff-Appellee,
                        v.

                    CHRISTIAN ESTRELLA,
                                        Defendant-Appellant.
              ________________________________

       On Appeal from the United States District Court
          for the Northern District of California,
the Honorable Susan Illston and William H. Orrick, Presiding.
               CR No. 3:19-cr-00517-WHO-1
              ________________________________

 APPELLANT’S UNOPPOSED MOTION FOR AN
 EXTENSION OF TIME TO FILE PETITIONS FOR
            FURTHER REVIEW

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                              INTRODUCTION
   Defendant-Appellant Christian Estrella moves for a 60-day extension of

time to file petitions for rehearing and rehearing en banc under Federal

Rules of Appellate Procedure 35 and 40. The current deadline for these

petitions is June 20, 2023; the requested new due date is August 21, 2023.


                                 ARGUMENT
   Under Ninth Circuit Rule 31-2.2, a party may seek an extension by
submitting a motion showing substantial need and diligence.

   I request the extension because my obligations in other cases prevent

me from completing the petitions by the current due date. I am working on
the reply brief in United States v. Hamilton, 9th Cir. No. 22-10161, which is

currently due on June 30, 2023. I am also working on the opening brief in

United States v. Terxidor, 9th Cir. No. 23-652, which is currently due on July

10, 2023. I have recently been assigned to United States v. Gerrans, N.D. Cal.

No. 18-310, a habeas action arising out of multi-count fraud case. I am also

assisting on United States v. Vinnik, N.D. Cal. No. 16-227, a complex case
involving allegations of financial misconduct. And I am supervising the

law clerks for the Office of the Federal Public Defender for the Northern

District of California this summer.

   Additionally, I am requesting the extension to provide sufficient time

for interested amici to file a brief in support of the petitions for further



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review. See 9th Cir. R. 29-1(e)(1) (amicus briefs due no later than 10 days

after petition is filed or is due).

   I have exercised diligence in this case by reviewing the panel’s decision,

investigating the relevant law in this and other circuits, and outlining the

petitions. I plan to file the petitions within the time requested. I have not

filed a previous request to extend time to file the documents. The
defendant in this criminal case is at liberty. The government does not

oppose this request.


                                 CONCLUSION
   This Court should extend Appellant’s time to file petitions for further

review until August 21, 2023.


                                        Respectfully submitted,
                                        JODI LINKER
                                        Federal Public Defender
    June 13, 2023                       s/ Yevgeniy Parkman
                                        YEVGENIY PARKMAN
                                        Assistant Federal Public Defender




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